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           EXHIBIT “9”
   Monte Carlo Employee Records




   Monte Carlo Employee Records

           EXHIBIT “9”
                                                  Case 2:19-cv-00373-APG-EJY Document 164-10 Filed 07/10/20 Page 2 of 9

                                                                                        Employee
Employee: 256799
From Date: 4/11/2016
To Date: 4/21/2017


                                                                                                                     Paid        Unpaid
                                                                          Date of     Job                    Clock   Break       Break                      Declared
 Emp Id Employee Name                Eatery   Eatery name                Business    Code   Title Clock In    Out    Hours       Hours        Hours           Tips
 256799    Sandra Perez                740    Monte Carlo Resort Hotel   4/13/2016   1170   Cook   11:36     20:03           0      0.68          7.77                 0
                                                                                                                                                                           18.7
                                       740    Monte Carlo Resort Hotel   4/14/2016   1170   Cook   14:00     20:00           0      0.57          5.43                 0

                                       740    Monte Carlo Resort Hotel   4/16/2016   1170   Cook   14:00     20:00           0       0.5              5.5              0

                                       958    Las Vegas Convention       4/18/2016   1150   Prep   11:03     18:23           0            0       7.33                 0
                                              Cntr                                                                                                                         51.51
                                       958    Las Vegas Convention       4/19/2016   1150   Prep   08:13     19:06           0            0      10.88                 0
                                              Cntr
                                       958    Las Vegas Convention       4/20/2016   1150   Prep   08:09     18:55           0            0      10.77                 0
                                              Cntr
                                       958    Las Vegas Convention       4/21/2016   1150   Prep   09:07     16:01           0            0           6.9              0
                                              Cntr
                                       740    Monte Carlo Resort Hotel   4/23/2016   1170   Cook   14:00     22:24           0       0.5              7.9              0

                                       740    Monte Carlo Resort Hotel   4/24/2016   1170   Cook   13:58     22:12           0       0.5          7.73                 0

                                       740    Monte Carlo Resort Hotel   4/25/2016   1170   Cook   14:00     22:00           0      0.53          7.47                 0
                                                                                                                                                                           38.9
                                       740    Monte Carlo Resort Hotel   4/28/2016   1170   Cook   14:11     22:55           0      0.52          8.22                 0

                                       740    Monte Carlo Resort Hotel   4/29/2016   1170   Cook   14:38     22:44           0      0.53          7.57                 0

                                       740    Monte Carlo Resort Hotel   4/30/2016   1170   Cook   09:49     18:47           0       0.5          8.47                 0

                                       740    Monte Carlo Resort Hotel   5/1/2016    1170   Cook   09:29     17:09           0       0.5          7.17                 0

                                       958    Las Vegas Convention       5/3/2016    1150   Prep   07:54     16:37           0            0       8.72                 0
                                              Cntr                                                                                                                         52.68
                                       958    Las Vegas Convention       5/4/2016    1150   Prep   08:02     17:44           0            0           9.7              0
                                              Cntr
                                       958    Las Vegas Convention       5/5/2016    1150   Prep   08:07     17:54           0            0       9.78                 0
                                              Cntr
                                       740    Monte Carlo Resort Hotel   5/6/2016    1170   Cook   11:06     19:16           0            0       8.17                 0

                                       740    Monte Carlo Resort Hotel   5/7/2016    1170   Cook   13:54     22:53           0            0       8.99                 0

                                       740    Monte Carlo Resort Hotel   5/8/2016    1170   Cook   14:17     22:12           0       0.6          7.32                 0

                                       740    Monte Carlo Resort Hotel   5/11/2016   1170   Cook   15:59     00:03           0            0       8.07                 0
                                                                                                                                                                           38.7
                                       740    Monte Carlo Resort Hotel   5/12/2016   1170   Cook   13:06     21:54           0       0.5              8.3              0



          Source: POSDiff                                                                                                                                                              Page 1
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                                                                                                                                                                            SBARRO001556
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                                                                                      Employee
Employee: 256799
From Date: 4/11/2016
To Date: 4/21/2017


                                     740    Monte Carlo Resort Hotel   5/13/2016   1170   Cook   16:12   23:56   0    0.5   7.23   0

                                     740    Monte Carlo Resort Hotel   5/14/2016   1170   Cook   18:13   01:52   0    0.6   7.05   0

                                     740    Monte Carlo Resort Hotel   5/15/2016   1170   Cook   14:04   22:38   0   0.52   8.05   0

                                     740    Monte Carlo Resort Hotel   5/16/2016   1170   Cook   14:04   18:18   0     0    4.23   0
                                                                                                                                       40.05
                                     740    Monte Carlo Resort Hotel   5/16/2016   1170   Cook   18:18   22:02   0   0.62   3.12   0

                                     740    Monte Carlo Resort Hotel   5/17/2016   1170   Cook   13:50   22:43   0    0.5   8.38   0

                                     740    Monte Carlo Resort Hotel   5/19/2016   1170   Cook   14:09   22:41   0   0.58   7.95   0

                                     740    Monte Carlo Resort Hotel   5/21/2016   1170   Cook   09:18   17:22   0   0.58   7.48   0

                                     740    Monte Carlo Resort Hotel   5/22/2016   1170   Cook   10:02   19:28   0   0.55   8.89   0

                                     958    Las Vegas Convention       5/23/2016   1150   Prep   08:04   16:15   0     0    8.18   0
                                            Cntr                                                                                       56.54
                                     740    Monte Carlo Resort Hotel   5/23/2016   1170   Cook   16:52   23:46   0   0.82   6.08   0

                                     958    Las Vegas Convention       5/24/2016   1150   Prep   09:14   17:21   0     0    8.12   0
                                            Cntr
                                     740    Monte Carlo Resort Hotel   5/25/2016   1170   Cook   09:50   18:34   0    0.6   8.13   0

                                     740    Monte Carlo Resort Hotel   5/26/2016   1170   Cook   14:03   22:16   0   0.68   7.53   0

                                     740    Monte Carlo Resort Hotel   5/28/2016   1170   Cook   09:32   18:38   0   0.52   8.58   0

                                     740    Monte Carlo Resort Hotel   5/29/2016   1170   Cook   09:03   19:32   0   0.57   9.92   0

                                     740    Monte Carlo Resort Hotel   5/30/2016   1170   Cook   22:14   04:45   0     0    6.52   0
                                                                                                                                       42.21
                                     740    Monte Carlo Resort Hotel   5/31/2016   1170   Cook   04:57   06:11   0     0    1.23   0

                                     740    Monte Carlo Resort Hotel   6/2/2016    1170   Cook   08:24   17:00   0    0.5    8.1   0

                                     740    Monte Carlo Resort Hotel   6/3/2016    1170   Cook   09:22   18:01   0   0.58   8.07   0

                                     740    Monte Carlo Resort Hotel   6/4/2016    1170   Cook   09:16   19:03   0    0.5   9.29   0

                                     740    Monte Carlo Resort Hotel   6/5/2016    1170   Cook   08:57   18:28   0   0.52     9    0

                                     958    Las Vegas Convention       6/8/2016    1150   Prep   07:57   17:53   0     0    9.93   0
                                            Cntr                                                                                        46



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                                                                                                                                        SBARRO001557
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                                                                                      Employee
Employee: 256799
From Date: 4/11/2016
To Date: 4/21/2017


                                     740    Monte Carlo Resort Hotel   6/9/2016    1170   Cook   07:29   19:09   0     0    11.67   0

                                     740    Monte Carlo Resort Hotel   6/10/2016   1170   Cook   08:43   17:37   0   0.77    8.13   0

                                     740    Monte Carlo Resort Hotel   6/11/2016   1170   Cook   08:53   16:48   0     0     7.92   0

                                     740    Monte Carlo Resort Hotel   6/12/2016   1170   Cook   09:46   18:37   0    0.5    8.35   0

                                     740    Monte Carlo Resort Hotel   6/16/2016   1170   Cook   07:47   19:11   0     0     11.4   0
                                                                                                                                        36.54
                                     740    Monte Carlo Resort Hotel   6/17/2016   1170   Cook   08:17   18:58   0     0    10.69   0

                                     740    Monte Carlo Resort Hotel   6/18/2016   1170   Cook   06:42   14:40   0     0     7.97   0

                                     740    Monte Carlo Resort Hotel   6/19/2016   1170   Cook   07:05   14:04   0    0.5    6.48   0

                                     740    Monte Carlo Resort Hotel   6/23/2016   1170   Cook   08:02   18:25   0   0.53    9.85   0
                                                                                                                                        37.67
                                     740    Monte Carlo Resort Hotel   6/24/2016   1170   Cook   08:41   17:58   0    0.6    8.68   0

                                     740    Monte Carlo Resort Hotel   6/25/2016   1170   Cook   08:00   17:23   0     0     9.38   0

                                     740    Monte Carlo Resort Hotel   6/26/2016   1170   Cook   07:50   18:06   0    0.5    9.76   0

                                     740    Monte Carlo Resort Hotel   6/30/2016   1170   Cook   08:07   18:08   0     0    10.02   0
                                                                                                                                        41.74
                                     740    Monte Carlo Resort Hotel   7/1/2016    1170   Cook   08:07   18:16   0     0    10.15   0

                                     740    Monte Carlo Resort Hotel   7/2/2016    1170   Cook   07:59   18:13   0     0    10.24   0

                                     740    Monte Carlo Resort Hotel   7/3/2016    1170   Cook   07:04   18:24   0     0    11.33   0

                                     740    Monte Carlo Resort Hotel   7/4/2016    1170   Cook   00:09   00:09   0     0       0    0
                                                                                                                                        47.64
                                     740    Monte Carlo Resort Hotel   7/4/2016    1170   Cook   13:40   00:06   0    0.7    9.73   0

                                     740    Monte Carlo Resort Hotel   7/7/2016    1170   Cook   08:11   19:32   0     0    11.35   0

                                     740    Monte Carlo Resort Hotel   7/8/2016    1170   Cook   08:10   17:58   0     0      9.8   0

                                     740    Monte Carlo Resort Hotel   7/9/2016    1170   Cook   07:59   18:07   0     0    10.14   0

                                     740    Monte Carlo Resort Hotel   7/10/2016   1170   Cook   07:56   14:29   0     0     6.55   0

                                     740    Monte Carlo Resort Hotel   7/10/2016   1170   Cook   14:30   15:05   0   0.52    0.07   0




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                                                                                                                                         SBARRO001558
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                                                                                      Employee
Employee: 256799
From Date: 4/11/2016
To Date: 4/21/2017


                                     740    Monte Carlo Resort Hotel   7/14/2016   1170   Cook   07:56   18:16   0     0    10.33   0
                                                                                                                                        39.75
                                     740    Monte Carlo Resort Hotel   7/15/2016   1170   Cook   08:08   18:28   0     0    10.33   0

                                     740    Monte Carlo Resort Hotel   7/16/2016   1170   Cook   08:32   17:45   0   0.63    8.58   0

                                     740    Monte Carlo Resort Hotel   7/17/2016   1170   Cook   07:50   18:21   0     0    10.51   0

                                     740    Monte Carlo Resort Hotel   7/21/2016   1170   Cook   08:28   18:32   0     0    10.07   0
                                                                                                                                        36.76
                                     740    Monte Carlo Resort Hotel   7/22/2016   1170   Cook   07:44   17:33   0   1.05    8.77   0

                                     740    Monte Carlo Resort Hotel   7/23/2016   1170   Cook   08:21   18:29   0   0.55    9.59   0

                                     740    Monte Carlo Resort Hotel   7/24/2016   1170   Cook   08:00   16:54   0   0.57    8.33   0

                                     740    Monte Carlo Resort Hotel   7/28/2016   1170   Cook   07:18   17:48   0    0.5     10    0
                                                                                                                                        37.87
                                     740    Monte Carlo Resort Hotel   7/29/2016   1170   Cook   07:11   18:23   0     0     11.2   0

                                     740    Monte Carlo Resort Hotel   7/30/2016   1170   Cook   08:05   17:53   0     0      9.8   0

                                     740    Monte Carlo Resort Hotel   7/31/2016   1170   Cook   08:39   15:31   0     0     6.87   0

                                     740    Monte Carlo Resort Hotel   8/3/2016    1170   Cook   14:11   22:23   0   0.57    7.63   0
                                                                                                                                        39.82
                                     740    Monte Carlo Resort Hotel   8/4/2016    1170   Cook   08:03   18:11   0     0    10.13   0

                                     740    Monte Carlo Resort Hotel   8/5/2016    1170   Cook   08:03   18:26   0     0    10.38   0

                                     740    Monte Carlo Resort Hotel   8/6/2016    1170   Cook   08:00   14:32   0     0     6.53   0

                                     740    Monte Carlo Resort Hotel   8/7/2016    1170   Cook   08:13   14:19   0   0.95    5.15   0

                                     740    Monte Carlo Resort Hotel   8/10/2016   1170   Cook   13:44   21:57   0   0.75    7.47   0
                                                                                                                                        38.22
                                     740    Monte Carlo Resort Hotel   8/11/2016   1170   Cook   07:31   16:21   0   0.73     8.1   0

                                     740    Monte Carlo Resort Hotel   8/12/2016   1170   Cook   07:23   14:06   0     0     6.72   0

                                     740    Monte Carlo Resort Hotel   8/13/2016   1170   Cook   10:45   20:26   0   0.83    8.85   0

                                     740    Monte Carlo Resort Hotel   8/14/2016   1170   Cook   08:05   15:10   0     0     7.08   0

                                     740    Monte Carlo Resort Hotel   8/17/2016   1170   Cook   14:13   22:00   0     0     7.78   0
                                                                                                                                        41.58



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                                                                                                                                         SBARRO001559
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                                                                                      Employee
Employee: 256799
From Date: 4/11/2016
To Date: 4/21/2017


                                     740    Monte Carlo Resort Hotel   8/18/2016   1170   Cook   14:01   22:02   0    0.5    7.52   0

                                     740    Monte Carlo Resort Hotel   8/19/2016   1170   Cook   09:40   19:37   0    0.5    9.45   0

                                     740    Monte Carlo Resort Hotel   8/20/2016   1170   Cook   08:03   19:34   0   0.53   10.98   0

                                     740    Monte Carlo Resort Hotel   8/21/2016   1170   Cook   08:30   14:21   0     0     5.85   0

                                     740    Monte Carlo Resort Hotel   8/24/2016   1170   Cook   14:28   22:19   0    0.6    7.25   0
                                                                                                                                        37.3
                                     740    Monte Carlo Resort Hotel   8/25/2016   1170   Cook   13:46   22:00   0   0.53     7.7   0

                                     740    Monte Carlo Resort Hotel   8/26/2016   1170   Cook   08:07   16:35   0    0.5    7.97   0

                                     740    Monte Carlo Resort Hotel   8/27/2016   1170   Cook   08:02   14:33   0   0.53    5.98   0

                                     740    Monte Carlo Resort Hotel   8/28/2016   1170   Cook   08:09   16:33   0     0      8.4   0

                                     740    Monte Carlo Resort Hotel   8/29/2016   1170   Cook   10:54   18:12   0   0.58    6.72   0
                                                                                                                                        33.89
                                     740    Monte Carlo Resort Hotel   9/1/2016    1170   Cook   09:50   18:15   0   0.53    7.88   0

                                     740    Monte Carlo Resort Hotel   9/2/2016    1170   Cook   06:53   16:32   0   0.52    9.13   0

                                     740    Monte Carlo Resort Hotel   9/3/2016    1170   Cook   08:28   19:21   0   0.72   10.16   0

                                     740    Monte Carlo Resort Hotel   9/4/2016    1170   Cook   07:19   16:40   0     0     9.35   0
                                                                                                                                        49.89
                                     740    Monte Carlo Resort Hotel   9/7/2016    1170   Cook   14:01   22:05   0   0.63    7.43   0

                                     740    Monte Carlo Resort Hotel   9/8/2016    1170   Cook   07:01   14:34   0     0     7.55   0

                                     740    Monte Carlo Resort Hotel   9/9/2016    1170   Cook   07:06   15:06   0   1.07    6.93   0

                                     740    Monte Carlo Resort Hotel   9/10/2016   1170   Cook   08:29   18:37   0     0    10.13   0

                                     740    Monte Carlo Resort Hotel   9/11/2016   1170   Cook   08:06   17:23   0   0.78     8.5   0

                                     740    Monte Carlo Resort Hotel   9/14/2016   1170   Cook   13:54   22:08   0   0.55    7.68   0
                                                                                                                                        43.63
                                     740    Monte Carlo Resort Hotel   9/15/2016   1170   Cook   07:23   15:28   0     0     8.08   0

                                     740    Monte Carlo Resort Hotel   9/16/2016   1170   Cook   08:08   16:27   0     0     8.32   0

                                     740    Monte Carlo Resort Hotel   9/17/2016   1170   Cook   08:19   19:35   0     0    11.27   0




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                                                                                                                                         SBARRO001560
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                                                                                       Employee
Employee: 256799
From Date: 4/11/2016
To Date: 4/21/2017


                                     740    Monte Carlo Resort Hotel   9/18/2016    1170   Cook   07:03   15:20   0     0    8.28   0

                                     740    Monte Carlo Resort Hotel   9/21/2016    1170   Cook   14:45   22:07   0   0.57    6.8   0
                                                                                                                                        39.02
                                     740    Monte Carlo Resort Hotel   9/22/2016    1170   Cook   08:14   17:20   0     0     9.1   0

                                     740    Monte Carlo Resort Hotel   9/23/2016    1170   Cook   07:26   16:26   0     0      9    0

                                     740    Monte Carlo Resort Hotel   9/24/2016    1170   Cook   08:54   18:06   0     0     9.2   0

                                     740    Monte Carlo Resort Hotel   9/25/2016    1170   Cook   08:57   14:24   0   0.53   4.92   0

                                     740    Monte Carlo Resort Hotel   9/29/2016    1170   Cook   07:49   14:20   0     0    6.52   0
                                                                                                                                        22.25
                                     740    Monte Carlo Resort Hotel   9/29/2016    1170   Cook   14:20   15:59   0   0.57   1.08   0

                                     740    Monte Carlo Resort Hotel   9/30/2016    1170   Cook   08:27   14:38   0     0    6.18   0

                                     740    Monte Carlo Resort Hotel   10/1/2016    1170   Cook   10:12   18:40   0     0    8.47   0

                                     740    Monte Carlo Resort Hotel   10/5/2016    1170   Cook   14:00   22:06   0    0.5    7.6   0
                                                                                                                                        32.08
                                     740    Monte Carlo Resort Hotel   10/6/2016    1170   Cook   08:07   15:25   0   0.52   6.78   0

                                     740    Monte Carlo Resort Hotel   10/7/2016    1170   Cook   07:36   15:36   0     0      8    0

                                     740    Monte Carlo Resort Hotel   10/8/2016    1170   Cook   07:57   16:30   0     0    8.55   0

                                     740    Monte Carlo Resort Hotel   10/9/2016    1170   Cook   08:08   09:17   0     0    1.15   0

                                     740    Monte Carlo Resort Hotel   10/12/2016   1170   Cook   14:01   22:00   0    0.5   7.48   0
                                                                                                                                        31.16
                                     740    Monte Carlo Resort Hotel   10/14/2016   1170   Cook   07:19   15:28   0     0    8.15   0

                                     740    Monte Carlo Resort Hotel   10/15/2016   1170   Cook   07:36   16:09   0     0    8.55   0

                                     740    Monte Carlo Resort Hotel   10/16/2016   1170   Cook   08:34   16:07   0   0.57   6.98   0

                                     740    Monte Carlo Resort Hotel   10/19/2016   1170   Cook   13:12   15:40   0     0    2.47   0
                                                                                                                                        38.18
                                     740    Monte Carlo Resort Hotel   10/19/2016   1170   Cook   15:40   21:58   0    0.8    5.5   0

                                     740    Monte Carlo Resort Hotel   10/20/2016   1170   Cook   06:59   15:13   0     0    8.23   0

                                     740    Monte Carlo Resort Hotel   10/21/2016   1170   Cook   07:13   16:06   0   0.78    8.1   0




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                                                                                                                                         SBARRO001561
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                                                                                       Employee
Employee: 256799
From Date: 4/11/2016
To Date: 4/21/2017


                                     740    Monte Carlo Resort Hotel   10/22/2016   1170   Cook   08:00   16:00   0     0       8    0

                                     740    Monte Carlo Resort Hotel   10/23/2016   1170   Cook   08:05   14:36   0   0.63    5.88   0

                                     740    Monte Carlo Resort Hotel   10/26/2016   1170   Cook   13:56   22:03   0    0.5    7.62   0
                                                                                                                                         40.05
                                     740    Monte Carlo Resort Hotel   10/27/2016   1170   Cook   07:12   16:21   0     0     9.15   0

                                     740    Monte Carlo Resort Hotel   10/28/2016   1170   Cook   07:04   15:05   0     0     8.02   0

                                     740    Monte Carlo Resort Hotel   10/29/2016   1170   Cook   07:43   16:08   0     0     8.41   0

                                     740    Monte Carlo Resort Hotel   10/30/2016   1170   Cook   08:04   14:55   0     0     6.85   0

                                     740    Monte Carlo Resort Hotel   11/2/2016    1170   Cook   14:06   21:52   0   0.57     7.2   0
                                                                                                                                         48.03
                                     740    Monte Carlo Resort Hotel   11/3/2016    1170   Cook   07:00   15:54   0     0      8.9   0

                                     740    Monte Carlo Resort Hotel   11/4/2016    1170   Cook   06:42   16:31   0     0     9.81   0

                                     740    Monte Carlo Resort Hotel   11/5/2016    1170   Cook   08:08   18:52   0     0    10.73   0

                                     740    Monte Carlo Resort Hotel   11/6/2016    1170   Cook   07:09   18:32   0     0    11.39   0

                                     740    Monte Carlo Resort Hotel   11/9/2016    1170   Cook   13:47   21:54   0   0.68    7.43   0
                                                                                                                                         39.55
                                     740    Monte Carlo Resort Hotel   11/10/2016   1170   Cook   06:49   15:32   0     0     8.72   0

                                     740    Monte Carlo Resort Hotel   11/11/2016   1170   Cook   07:24   14:38   0     0     7.23   0

                                     740    Monte Carlo Resort Hotel   11/12/2016   1170   Cook   06:45   14:12   0     0     7.45   0

                                     740    Monte Carlo Resort Hotel   11/13/2016   1170   Cook   06:02   14:45   0     0     8.72   0

                                     740    Monte Carlo Resort Hotel   11/16/2016   1170   Cook   14:03   21:58   0    0.6    7.32   0
                                                                                                                                         42.36
                                     740    Monte Carlo Resort Hotel   11/17/2016   1170   Cook   07:08   16:35   0     0     9.45   0

                                     740    Monte Carlo Resort Hotel   11/18/2016   1170   Cook   06:23   16:10   0     0     9.79   0

                                     740    Monte Carlo Resort Hotel   11/19/2016   1170   Cook   07:03   15:17   0     0     8.23   0

                                     740    Monte Carlo Resort Hotel   11/20/2016   1170   Cook   08:03   15:37   0     0     7.57   0

                                     740    Monte Carlo Resort Hotel   11/23/2016   1170   Cook   14:20   22:05   0     0     7.75   0
                                                                                                                                          43



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                                                                                                                                          SBARRO001562
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                                                                                       Employee
Employee: 256799
From Date: 4/11/2016
To Date: 4/21/2017


                                     740    Monte Carlo Resort Hotel   11/24/2016   1170   Cook   09:53   20:25   0     0    10.53   0

                                     740    Monte Carlo Resort Hotel   11/25/2016   1170   Cook   07:18   18:01   0     0    10.72   0

                                     740    Monte Carlo Resort Hotel   11/26/2016   1170   Cook   07:27   15:33   0     0      8.1   0

                                     740    Monte Carlo Resort Hotel   11/27/2016   1170   Cook   09:09   15:03   0     0      5.9   0

                                     740    Monte Carlo Resort Hotel   11/30/2016   1170   Cook   13:42   22:03   0     0     8.35   0
                                                                                                                                         34.98
                                     740    Monte Carlo Resort Hotel   11/30/2016   1170   Cook   22:04   22:04   0     0       0    0

                                     740    Monte Carlo Resort Hotel   12/1/2016    1170   Cook   07:24   15:58   0     0     8.57   0

                                     740    Monte Carlo Resort Hotel   12/2/2016    1170   Cook   07:49   16:21   0     0     8.53   0

                                     740    Monte Carlo Resort Hotel   12/3/2016    1170   Cook   06:35   16:07   0     0     9.53   0

                                     740    Monte Carlo Resort Hotel   12/7/2016    1170   Cook   13:59   16:42   0     0     2.72   0
                                                                                                                                         38.08
                                     740    Monte Carlo Resort Hotel   12/7/2016    1170   Cook   16:42   22:13   0   0.63    4.88   0

                                     740    Monte Carlo Resort Hotel   12/8/2016    1170   Cook   07:16   15:10   0     0      7.9   0

                                     740    Monte Carlo Resort Hotel   12/9/2016    1170   Cook   07:04   14:24   0     0     7.33   0

                                     740    Monte Carlo Resort Hotel   12/10/2016   1170   Cook   07:34   15:49   0     0     8.25   0

                                     740    Monte Carlo Resort Hotel   12/11/2016   1170   Cook   07:09   14:53   0   0.73      7    0

                                     740    Monte Carlo Resort Hotel   12/15/2016   1170   Cook   07:09   18:00   0     0    10.85   0
                                                                                                                                         36.35
                                     740    Monte Carlo Resort Hotel   12/16/2016   1170   Cook   08:03   17:00   0     0     8.95   0

                                     740    Monte Carlo Resort Hotel   12/17/2016   1170   Cook   06:57   15:07   0     0     8.17   0

                                     740    Monte Carlo Resort Hotel   12/18/2016   1170   Cook   06:10   15:11   0   0.63    8.38   0

                                     740    Monte Carlo Resort Hotel   12/21/2016   1170   Cook   14:13   20:04   0    0.5    5.35   0
                                                                                                                                         38.03
                                     740    Monte Carlo Resort Hotel   12/22/2016   1170   Cook   07:15   16:39   0     0      9.4   0

                                     740    Monte Carlo Resort Hotel   12/23/2016   1170   Cook   07:00   15:10   0     0     8.17   0

                                     740    Monte Carlo Resort Hotel   12/24/2016   1170   Cook   08:52   17:06   0     0     8.23   0




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